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                            IN THE UNITED STATES DISTRICT
                          COURT FOR THE SOUTHERN DISTRICT
                              OF OHIO EASTERN DIVISION

 JAMES MATTHEWS, et al.


                         Plaintiffs,


                                                        Civil Action 2:20-CV-00040-ALM-EPD
         v.                                             Judge Algernon L. Marbley
                                                        Magistrate Judge Elizabeth P. Deavers
 CENTRUS ENGERGY CORP., et al.


                         Defendants.
                                       NOTICE OF APPEAL
       NOW COMES all Plaintiffs, and hereby gives notice of appeal to the United States Court

of Appeals for the Sixth Circuit from the Order granting Defendant’s Motion to Dismiss entered

in this action of the 27th day of July, 2020.




Dated: August 18, 2020                          Respectfully submitted,

                                                VILLARREAL LAW FIRM, LLC

                                       By:      /s/ Kelsey J. Reno

                                                Kelsey J. Reno #0097501
                                                2 W. Main St.
                                                Chillicothe, OH 45601
                                                Ph: (740) 772-4466
                                                Fx: (740) 772-4467
                                                kelsey@avlawohio.com
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on August 18, 2020, a true and accurate copy of the

foregoing was served by filing it in the court’s electronic filing system, which will provide

electronic notice to all parties and attorneys of record.

                                               /s/ Kelsey J. Reno
                                               Kelsey J. Reno #0097501
